 8:15-cr-00343-JFB-MDN              Doc # 32    Filed: 12/30/15      Page 1 of 1 - Page ID # 44



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                        8:15CR343

       vs.
                                                                           ORDER
DIONTE DORTCH,

                       Defendant.


       This matter is before the court on the defendant's motion for a 64-day extension of time in
which to file pretrial motions [30]. Upon review of the file, the court finds that a 30-day extension
should be granted.


       IT IS ORDERED that the MOTION TO EXTEND DATE FOR FILING OF PRETRIAL
MOTIONS [30] is granted, in part, as follows:


       1.      The deadline for filing pretrial motions is extended to January 28, 2016.


       2.      In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of justice
will be served by granting this motion and outweigh the interests of the public and the defendant in a
speedy trial. Any additional time arising as a result of the granting of this motion, that is, the time
between December 29, 2015 and January 28, 2016, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that counsel
require additional time to adequately prepare the case, taking into consideration due diligence of
counsel and the novelty and complexity of this case. The failure to grant additional time might result
in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).




       Dated this 30th day of December, 2015

                                                       BY THE COURT:

                                                       s/ F.A. Gossett, III
                                                       United States Magistrate Judge
